                              UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF NORTH CAROLINA
                                  STATESVILLE DIVISION
                                      5:20-cv-00141-KDB
                                  (5:19-cr-00033-KDB-DCK-1)

ANTONIO CARNELL WHITE,                                        )
                                                              )
                            Petitioner,                       )
                                                              )
vs.                                                           )                ORDER
                                                              )
                                                              )
UNITED STATES OF AMERICA,                                     )
                                                              )
                  Respondent.                                 )
______________________________________                        )

           THIS MATTER is before the Court on Petitioner’s Motion to Vacate, Set Aside or Correct

Sentence under 28 U.S.C. § 2255. [Doc. 1].

           The Court has conducted an initial screening of the petition under the Rules Governing §

2255 Proceedings, Rule 4(b) 28 U.S.C.A. foll. § 2255, and finds that the petition has not been

signed by Petitioner under penalty of perjury, Rule 2(b)(5), 28 U.S.C.A. foll. § 2255 (motion to

vacate must be signed under penalty of perjury “by the movant or by a person authorized to sign

it for the movant”).1 Within twenty (20) days of service of this Order, Petitioner must sign the

petition under penalty of perjury and resubmit it in accordance with Rule 2(b)(5) of the Rules

Governing § 2255 Proceedings. Further, Petitioner shall use the form the Clerk will be instructed

to send to Petitioner when he resubmits his petition.

           Petitioner’s failure to return his Section 2255 form, signed under penalty of perjury, within

twenty days of service of this Order, may result in dismissal of this action without prejudice.




1   The Court notes that the petition is missing its final page where signature under penalty of perjury is made.



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      IT IS THEREFORE ORDERED that:

      (1)     Petitioner shall return his Section 2255 form, signed under penalty of perjury,

              within twenty (20) days of service of this Order and is advised that the failure to do

              so may result in dismissal of this action without prejudice.

      (2)     The Clerk is instructed to mail a Section 2255 form to Petitioner for Petitioner’s

              use in resubmitting his Section 2255 Motion to Vacate signed under penalty of

              perjury.

Signed: September 24, 2020




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